
722 S.E.2d 789 (2012)
STATE of North Carolina
v.
William Jackson NEAL, Jr.
No. 470P11.
Supreme Court of North Carolina.
March 8, 2012.
Marilyn G. Ozer, Chapel Hill, for Neal, William Jackson.
Anita LeVeaux, Assistant Attorney General, for State of N.C.
C. Branson Vickory, III, District Attorney, for State of N.C.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant on the 4th of November 2011 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex Mero Motu by order of the Court in conference, this the 8th of March 2012."
Upon consideration of the petition filed on the 4th of November 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals *790 pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th of March 2012."
